     Case 3:15-cr-00161-AWT Document 310 Filed 01/05/21 Page 1 of 5



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA         :
                                 :
     v.                          : Crim. No. 3:15CR161 (AWT)
                                 :
ROBERT LEE MINNIFIELD, III       :




          ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

     For the reasons set forth below, the defendant’s motions

for compassionate release (ECF Nos. 292 and 296) are hereby

DENIED.

     Defendant Robert Minnifield moves, pursuant to 18 U.S.C. §

3582 (c)(1)(A)(i), for an order reducing his sentence to time

served followed by a period of home confinement.        He states that

“he is within six months of release on a sixty-month sentence,

he has not been designated to a halfway house, the pandemic has

frozen all or most programming for the past seven months and the

pandemic presents an unreasonable health risk to all inmates,

visitation was precluded for the same period, and he has

remained discipline-free.”    Def.’s Mot. (ECF No. 296) at 1.

     On January 9, 2017, the court sentenced the defendant to a

term of 60 months of imprisonment to be followed by a 4-year

term of supervised release.    This followed his plea of guilty to

Count One of an Indictment which charges the defendant with
     Case 3:15-cr-00161-AWT Document 310 Filed 01/05/21 Page 2 of 5



conspiracy to possess with intent to distribute 28 grams or more

of cocaine base in violation of Sections 846, 841(a)(1), and

841(b)(1)(B)(iii) of Title 21 of the United States Code.

     The Presentence Report calculated the defendant’s total

offense level to be 21 and his criminal history category to be

VI, so the Sentencing Guidelines included a range of 77 months

to 96 months of imprisonment.     The defendant faced a mandatory

minimum term of imprisonment of 5 years; the government agreed

not to file a Section 851 information which would have exposed

the defendant to a mandatory minimum term of 10 years of

imprisonment.   The court imposed a non-Guidelines sentence,

which included a 60-month term of imprisonment, to reflect the

efforts the defendant had made in terms of rehabilitation both

before and after he committed the offense of conviction and to

put appropriate weight on the time the defendant served for

violation of his special parole imposed by the state court.

There was a discussion at sentencing of the defendant’s serious

criminal history; the court noted that an important question for

the court to resolve was whether it should put primary weight on

the need to protect the public from further crimes committed by

the defendant and the need to defer the defendant from

committing further offenses.     The court decided not to because

of the efforts that had been made by the defendant, on his own,

to obtain a job.   Paragraph 81 of the Presentence Report

                                   2
      Case 3:15-cr-00161-AWT Document 310 Filed 01/05/21 Page 3 of 5



reflects that the defendant was encouraged to consider

participation in Reentry Court, as well as Support Court, to

assist him in his effort to make a break from his past and lead

a more meaningful life.

     Section 3582(c)(1)(A) of Title 18, which governs

compassionate release, requires as an initial matter that:

     the defendant has fully exhausted all administrative rights
     to appeal a failure of the Bureau of Prisons to bring a motion
     on the defendant’s behalf or the lapse of 30 days from the
     receipt of such a request by the warden of the defendant’s
     facility, whichever is earlier . . . .

18 U.S.C. § 3582(c)(1)(A).     Assuming a defendant has exhausted

administrative remedies, a court may reduce a term of

imprisonment under Section 3582(c)(1)(A)(i) if, after

considering the factors set forth in 18 U.S.C. § 3553(a) to the

extent they are applicable, the court finds that “extraordinary

and compelling reasons warrant such a reduction” and “that such

a reduction is consistent with applicable policy statements

issued by the Sentencing Commission”.       18 U.S.C. §

3582(c)(1)(A)(i).    The policy statement in U.S.S.G. § 1B1.13 is

applicable to compassionate release.

     The defendant has satisfied the requirement that he exhaust

his administrative remedies.      The court concludes, however, that

the applicable Section 3553(a) factors counsel against reduction

of the defendant’s sentence.



                                    3
       Case 3:15-cr-00161-AWT Document 310 Filed 01/05/21 Page 4 of 5



      The defendant had seven prior convictions before he

committed the offense of conviction, and he had been discharged

to special parole supervision for his most recent state court

conviction at the time he committed the offense of conviction.

The defendant clearly struggled after his release to the

community on July 28, 2014; the fact that the defendant appeared

to be making significant steps in terms of rehabilitation did

not keep him from committing the offense of conviction.             At the

time the defendant filed the instant motion, he had not been

designated to a halfway house, but he is currently residing at a

halfway house.

      Based on the defendant’s prior performance while on

supervision, it is important that the defendant benefit this

time around from the structured programming he will receive as a

result of residing at a halfway house.          The court believes that

having the defendant transition now from a halfway house to

residing in the community would not serve the goal of

rehabilitation.     Thus releasing the defendant to home

confinement now is not sufficient to serve the purposes of

sentencing, as contemplated by Section 3553(a). 1

      It is so ordered.




1
 The court notes that the advice of the author of the Presentence Report with
respect to Reentry Court remains sound advice.


                                      4
     Case 3:15-cr-00161-AWT Document 310 Filed 01/05/21 Page 5 of 5




     Signed this 5th day of January 2021 at Hartford,

Connecticut.



                                           /s/AWT         ___
                                      Alvin W. Thompson
                                 United States District Judge




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